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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                  CRIMINAL NO. 1:15CR64-4
                                               (Judge Keeley)


 ADAM BRADFORD LINCH,

                  Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO. 77) AND SCHEDULING SENTENCING HEARING

      On October 22, 2015, the defendant, Adam Linch (“Linch”),

 appeared before United States Magistrate Judge Michael J. Aloi and

 moved for permission to enter a plea of GUILTY to Count Eleven of

 the Indictment. Linch stated that he understood that the magistrate

 judge is not a United States District Judge, and consented to

 pleading before the magistrate judge.        This Court had referred the

 guilty    plea   to   the   magistrate    judge   for   the   purposes    of

 administering the allocution pursuant to Federal Rule of Criminal

 Procedure 11, making a finding as to whether the plea was knowingly

 and voluntarily entered, and recommending to this Court whether the

 plea should be accepted.

      Based upon Linch’s statements during the plea hearing and the

 government’s proffer establishing that an independent factual basis

 for the plea existed, the magistrate judge found that Linch was

 competent to enter a plea, that the plea was freely and voluntarily
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 given, that he was aware of the nature of the charges against him

 and the consequences of his plea, and that a factual basis existed

 for the tendered plea. On October 26, 2015, the magistrate judge

 entered a Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) (dkt. no. 77) finding a factual basis for the

 plea and recommending that this Court accept Linch’s plea of guilty

 to Count Eleven of the Indictment.

      The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. The parties

 did not file any objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Linch’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Eleven of the Indictment.

      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The Probation Officer shall undertake a presentence

 investigation of ADAM BRADFORD LINCH, and prepare a presentence

 report for the Court;

       2.    The Government and Linch are to provide their versions of

 the offense to the probation officer by November 23, 2015;

       3.    The presentence report is to be disclosed to Linch,

 defense counsel, and the United States on or before January 8,

 2016; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before January 22, 2016;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before February 5, 2016;

 and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




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 factual    basis    from    the   statements    or   motions,   on   or   before

 February 19, 2016.

      The magistrate judge continued Linch on bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 14) entered on

 July 28, 2015 and amended on July 31, 2015 (dkt. no. 21).

      The    Court    will    conduct    the    sentencing   hearing    for   the

 defendant on Wednesday, February 24, 2016 at 2:30 P.M. at the

 Clarksburg, West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: November 10, 2015


                                        /s/ Irene M. Keeley
                                        IRENE M. KEELEY
                                        UNITED STATES DISTRICT JUDGE




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